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IN THE CIRCUIT COURT OF TENNESSEE AT COVINGTON
THE TWENTY-FIFTH JUDICIAL DISTRICT

 

STATE OF TENNESSEE,
Appellee,

VS: CAUSE NO. 6030

MICHAEL W. PARSONS,
Appellant.

TRANSCRIPT OF SENTENCING HEARING
JANUARY 8, 2010

 

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THE HONORABLE JOE H. WALKER, PRESIDING JUDGE
ABREABANQES

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State of Tennessee
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IN THE CIRCUIT COURT OF TIPTON COUNTY, TENNESSEE

 

STATE OF TENNESSEE,
Appellee,

VS: CAUSE NO. 6030

MICHAEL PARSONS,
Appellant.

 

This cause came on to be heard and was heard
on Friday, the 8th day of January 2010, before the
Honorable Joe H. Walker, Judge, holding the Circuit
Court for Tipton County, at Covington, Tennessee.

The following proceedings were had, to wit:

* * ~k * *

THE COURT: State Versus Parsons, are you

ready on that matter?

MR. WITHERINGTON: Yes, sir, I'm ready, Your
Honor.

Your Honor, before we begin the sentencing,
Mr. Parsons has asked that I raise two objections on
his behalf to the proceedings; one being that he
objects to being sentenced to any jail time as a result
of being denied the right to counsel under Argersinger_
M_Hamlin, which states that if you are denied the right

to counsel, that it's inappropriate to be sentenced to

 

 

 

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jail time under such circumstances.

The second objection, Your Honor, is one that
I believe he's made already; that he had asked Your
Honor to recuse himself earlier, and he just wanted to
make sure that that was a part of the record, that he
had made that request

THE COURT: Okay. General.

GENERAL FREELAND: Your Honor, Mr. Parsons has
been represented by Mr. Witherington, now the fourth
attorney, I think. The public defender had a conflict,
but the other attorneys, Mr. Robbins and Ms. Mills,
with whom Your Honor is well familiar, and we've been
through this on numerous occasions, tried their best to
represent Mr. Parsons. And had he listened to them, I
suggest he probably wouldn’t be in the orange jump suit
he is wearing today.

So he's had attorneys. He just hasn't
listened to them, So we think that is not well
founded, that Motion.

THE COURT: The Court has addressed both of
those issues already. I'll be glad to address them
again if need be. But today is the sentencing hearing.

Mr. Parsons' reason for recusal is, shortly
before trial date, the day before trial date, he filed

a civil lawsuit naming a number of people involved in

 

 

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the judicial process, and I guess takes the opinion
that he can sue civilly the people involved and
therefore can no longer be prosecuted. But the Court
didn't feel like there was a reason for recusal and
still doesn't.

And the defendant has had attorneys appointed.

Are you representing him today?

MR. WITHERINGTON: Yes, sir, Your Honor.

THE COURT: All right. Are you ready to
proceed?

MR. WITHERINGTON: Yes, sir, I am, Judge.

THE COURT: The defendant was convicted by a
jury of three felony offenses and two misdemeanor
offenses. The State has filed a Board of Probation and
Parole Investigation Report. Have you been over that
with your client?

MR. WITHERINGTON: Yes, sir, I have. And
there are two corrections. They are relatively minor
in the grand scheme of things, but they are corrections
nonetheless.

One is as to his educational background. Your
Honor, he does make a notation he has a degree in
mechanical engineering. It said that independent
verification was not requested due to his age, but he

did want that a part of his presentence report, that he

 

 

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does have that degree in mechanical engineering.

And one additional, Your Honor; under military
information, he was a part of -- it does indicate he
was a part of Civil Air Patrol from 1992 to 1994, and
it states in here that he reports no military history.
He's indicated that that is, in fact, military.

Those are the only corrections, Your Honor.

THE COURT: Okay.

MR. WITHERINGTON: Otherwise, we stipulate to

its accuracy.

THE COURT: The Court, then, will accept the
presentence report by stipulation, unless the State
wants to put on the officer.

GENERAL FREELAND: No, sir. I don't even know
that there's any disagreement, other than I assumed
that "civil" meant not military. But it is not worth
quibbling about.

MR. WITHERINGTON: He indicated that he had
military ID and it was federally funded, Your Honor,
and wanted that notation made.

THE COURT: Okay. The Court, then, accepts
the report by agreement.

Included in the report is the victim impact
statement, which the Court has read, and a statement by

the defendant, which the Court has read.

 

 

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Does the State have any other witnesses?

GENERAL FREELAND: Are Mr. King or Mr. Laxton
here? Or anybody that wishes to be heard?

(No response.)

GENERAL FREELAND: Your Honor, we'll rely on
the victim impact statements as they're included in the
investigation report and on the facts that came out in
the trial itself.

THE COURT: Mr. Witherington.

MR. WITHERINGTON: Your Honor, if I could
begin by introducing two exhibits. One is a set of
letters. If I could make this a collective exhibit?

THE COURT: Yes, sir.

GENERAL FREELAND: Could I See that?

MR. WITHERINGTON: The other exhibit, Your
Honor, would be his Diversion Eligibility Certificate
from the Tennessee Bureau of Investigation.

(Exhibit Number 1, letters, was

marked and admitted as evidence.)

(Exhibit Number 2, Diversion

Eligibility Certificate, was marked

and admitted as evidence.)

MR. WITHERINGTON: Your Honor, what I believe
now has been marked as Exhibit 1 is a set of letters

that Mr. Parsons collected from various members of the

 

 

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community and on his behalf. And particularly

pointing, I placed on top the letter of Mr. Hess, a

retired Navy officer.

And, Your Honor, I filed also a Motion to
Grant Judicial Diversion, with a Memorandum in support,
and that, of course, is what we are requesting of the

Court today.

And in terms of proof, I‘d like to put on
Mr. Parsons first, if I could.

THE COURT: All right, sir.

(Witness sworn.)

MR. WITHERINGTON: Your Honor, I've just been
handed one additional letter. I apologize to the
Court. If we could make this a part of Exhibit l.
It's one additional letter from a close friend.

THE COURT: Yes, sir.

THE WITNESS: Your Honor. Your Honor.

MR. WITHERINGTON: It'S MS. Vernie Cubing.

THE COURT: I'11 add it to this exhibit.

If you will take care of that, please.

THE COURT REPORTER: YeS, Sir.

MR. WITHERINGTON: May I proceed, Your Honor?

THE COURT: Yes, sir. The last document that
you handed up was added to Exhibit 1. Okay.

MR. WITHERINGTON: Thank you, Your Honor.

 

 

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THE COURT: Yes, sir.

DEFENDANT’S PROOF

MICHAEL PARSONS,
having been duly sworn, was examined and testified as
follows:
DIRECT EXAMINATION

BY MR. WITHERINGTON:

Q. Would you state your name?

A. Michael Parsons. And I've left my glasses
over on the desk. I'm sorry.

Q And how old are you, Mr. Parsons?

A 48.

Q. And where do you reside now?

A Hughes Road, Brighton, Tennessee.

Q Okay. Do you live on -- is it a farm?

A It's farmland. We have a house, and we do hay
farming

Q. You have some acreage there; is that correct?
A. YeS.

Q. Okay. And if we could go through some of your
social history. What do you do for a living?

A. I do a lot. I have a business as a
professional home inspector. I'm a consultant. I do

work for the public, inspecting homes, commercial

 

 

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buildings. I act as expert witness from time to time
in the court system, advising litigants regarding the
condition of homes, if contractors did the job, if they
didn't do the job.

I'm also a licensed general contractor, more
of a consulting, paper pushing, as opposed to actually
driving nails type of job.

Again the hay farming business.

And up until recently, for the last year I was
a radio talk show host of a station in Millington,
Tennessee, doing a ministry of sorts for the public.

Q. Okay. What are your hobbies and interests? I
know you mentioned the radio show.

A. Most of my time is spent with my animals.

I've spent the last 30-some-odd years raising wolf
hybrids, dealing with wolves, working with zoos. I
worked with the relocation effort back in '95 to bring
wolves from Canada to Yellowstone. l was somewhat
instrumental in getting the program out at the zoo, the
Teton Trek, to include the wolves.

Former relations with the former curator at
the zoo, he used to buy hay from us, and he would come
out and enjoy seeing my wolf hybrids and would go in
and play with them, and so he knew their nature.

And I've spent an abundance of my life trying

 

 

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to dispel the lies and the myths about the villain, the
wolf, when, in fact, there's never been a case in
American history or Canadian history where a wild wolf
has ever killed a human, but yet people are believed to
fear an animal which has never harmed anybody.

Q. So is it fair to say, then, that you have a
special connection with wolves?

A. Well, I do. And it's more than just an
interest, being three-quarters Cherokee and doing my

genealogy, finding out that I'm actually descended from

the wolf clan.

In the Cherokee Nation you have seven clans,

and the wolf clan was known for their ~~ well, they
domesticated wolves. They used them for all sorts of
things. But that was a part of my genetics, I guess,
so...

Q. I understand. Are you married?

A. I am.

Q. Okay. What's your educational background?

A. I have a degree in mechanical engineering.

Q. Okay. And where did you get your degree from?
A. It's now called Southwest.

Okay.

It's changed names.

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And when did you obtain your degree?

 

 

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A. 1988.

Q. Okay. As far as your criminal record, as I
understand it and we've submitted to the Court, you
have no criminal record before this incident; is that
correct?

A. That‘s correct.

Q. As far as your physical and mental health, are
you in good physical and mental health?

A. Excellent. Other than being gassed the other
day in the cell for about three hours, I'm okay.

Q. Okay. Have you ever been diagnosed with any
serious physical or mental condition?

A. Never.

Q. Now, going to the circumstances of this
offense, would you agree that this incident occurred
under unusual circumstances?

A. Very unusual circumstances.

Q. Would you agree that at least one of the
things giving rise, another of many factors involved,
but at least one of the things giving rise to this
incident was the fact that your wolf got out, out of

the enclosure?

A. Well, Brandi is a wolf hybrid, and she did get

out of the back yard. Apparently, while I was away,

she raised the latch on the gate and got out. At that

 

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time, as I understand it, there were several stray dogs
running in the area, and apparently she saw fit to go

play with them.

And when we -- when l got home, Pat called me,
went looking for them and heard gunshots. Which we're
in a kind of a rural, even though within a square mile
there's about 82 homes, so it was a lot of homes, but
relatively speaking most people have five to 30 acres
or so, so it's not uncommon for people to target
practice.

And went looking for Brandi. And my wife was
at the front of the property, and I had crossed over
the fence to investigate, and witnessed a person, who I
didn't know who it was at the time, which later was
identified as Barry Laxton, shooting in the direction
of where my dog was. But just beyond my dog was my
wife standing in the wooded part of our field. We

have ~- the front of our property is wooded, lot of

pine trees.

Q. Is that -~ were you out there to recover your
dog?

A. Yes.

Q. Okay. Would you agree, though, with my

original question, that at least one of the factors

that gave rise to this incident, that was necessary in

 

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order for this incident to occur, was the fact that

your dog got out?

A. That's correct.

Q. And as I understand it, you have taken steps
to construct a secondary fence, or at least lay the
groundwork for that; is that correct?

A. That's correct. I've purchased a substantial
amount of fencing material to basically enclose the
back yard so that if somehow they climb out, dig out,
or get out, there's going to be another fence of about

seven foot tall that would, you know, prevent them from
going any further.
Q. It's my understanding it's kind of an

extraordinary fence, though, of superior quality; is

that fair to say?

A. It's not chain link. It's not your back yard
fence. It's cattle panel, which is about the thickness
of this pencil, very thick gauge material, suitable for
cattle, and large enough that, you know, it will keep
our pets in if they happen to get out of the chain link
fence, which is what we've got now, which is pretty
common for most people's yards, as chain link fencing.
Q. Okay. Now, I know you can't make a guarantee,
but in your opinion as an animal keeper, would this

secondary fence be sufficient to prevent your dogs from

 

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getting out again in the future?

A. I believe it will.

Q. Will you make every effort -- when you are
eventually released, will you make every effort to make
sure that the dogs don't get out of your enclosures?
A. Yes, I will.

Q. And you've also indicated that you were going
to take some steps to educate your neighbors about the
dogs. And what will you be accomplishing by doing
this?

A. Well, during the trial I was impressed by one
of the ladies who was the mother of a man who lives in
the community, who I really don't know that well. But
he had shown hostility in the past towards us for no
apparent reason other than he didn't know us. Maybe
rumors. Who knows? You know, we've only been in the
county for, what, 12 years now, so we're relatively
new, as most people perceive if you weren't born here,
you're not from here, you're not really welcome.

But she expressed an interest to communicate
with us and that she's sorry that this thing had gone
so far. And she really wasn't worried about our dogs.
l think the impression was that they are more hostile
towards me for no known reason. But there seemed to be

an interest in building a bridge there.

 

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And so what I would try to do, as when our
next door neighbors where Brandi was shot and killed,
when they moved there, the previous neighbors, they

came over and played with our dogs.

Q. Okay. Is it a fair summary of what you're
saying --
A. So we've made an effort in the past. Certain

neighbors have met our dogs and know about our dogs,
but certain ones haven't, just because we haven't had
the opportunity. But it seems like there apparently is
now an interest in bridging that void.

And I'll take every opportunity, you know, as
much as people are interested, to expose my animals to
them so that they know that these are not aggressive
animals, if that's a concern, and let them know that we
are genuinely good people.

You know, despite having run for political
office doesn't necessarily, in my opinion, make you a
bad person. I ran for issues, not against people.

Q. Okay. Getting directly to the mitigating
factors that we've mentioned in your Memorandum in this
case, do you feel that you acted under strong
provocation during that incident on September 24, 2007?
A. l would say witnessing my dog being shot and

killed right in front of me, her dying at my feet, my

 

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wife being shot at, and bullets flying past my head, I
would certainly say that's extremely strong
provocation.
Q. Although you failed at least at trial to
establish in the eyes of the jury an affirmative
defense of self-defense and also that you were
effecting or effectively effecting a citizen's arrest,
do you feel that grounds under the circumstances
existed tending to justify or excuse your actions?
A. I did everything that I knew to do according
to the law to protect myself to enact a citizen's
arrest, which is lawful. Citizen's arrest has been on
the books forever. The ability for one to defend
himself, the fact that you're not required to retreat.

I am a licensed permit carrier since 19 years
ago when I was issued a special permit through the
Shelby County Sheriff's Department because of my work
with the government as a pilot. Never had to use a
gun. Never -- didn't use a gun in this case, as a
matter of fact. But the jury chose not to, I guess,
listen to what I was saying or whatever their case may
be.

The situation was that had he not crossed the
street off his property and shot 29 times at my family,

l wouldn’t have been there.

 

 

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Q. Yes, sir, I understand that. Now, this is
similar to the provocation question, but also another
statutory factor. Do you feel that you were acting --
that you were under stress or duress at the time of the
incident?

A. I would say that certainly I was under stress,
but I would say that my actions were reasonable and
restrained.

So many people I’ve spoken to said that if
somebody is shooting at them, they're going to shoot
back. And it was like I tried to explain, that if you
weren't there, you really don't know. And the fact
that the distance between us was such that shooting
back at him while he's shooting at me, yes, I might
have hit him, but I might have missed and jeopardized
people behind him, if, in fact, there were people in
the house behind.

My interest was to stop the threat against my
family, not to harm anyone, to preserve everyone‘s
life. And that'S --

Q. I understand that you considered your response
to the situation to be controlled and a rational
response. But would you agree, or is it true at least,

that it was also an emotional and a stressful

situation?

 

 

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A. Certainty.

Q. Did you assist the authorities in uncovering
any of the property involved in the incident?

A. As a matter of fact, I confiscated the rifle
that the shooter had used to shoot at my family, which
was laid in the back of a truck. He had concealed it
immediately after the shooting and would not reveal its
location when I had asked him multiple times.

When I saw it, I confiscated it as well as a
paddle holster which I knew would be able to show the
officers, in fact, that both men had been armed. In
case they tried to deny it, I would have the proof,
physical proof, to show them both men were armed.

And when the deputies arrived, immediately I
presented them with the rifle and the holster and
advised them of the crimes, the felonies that I had

witnessed, which would have been the basis for the

citizen's arrest.

Q. Okay. As far as their investigation of you,

though, did you cooperate fully in their investigation

of you?
A. Oh, certainly.
Q. Okay. Did you turn over anything that you had

that they were interested in?

A. Yes. Immediately gave them the pistol that l

 

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had so that they would know that there's no danger to

anybody.
Q. Would you say that you're genuinely sorry that
this incident occurred?

A. Certainly.

Q. Can you assure the Court that you will do
everything within your power to make sure that these
sort of circumstances don't arise again in the future?
A. Immediately we're going to have the fence put
up. I’ll be working to finish the fence that I had
already started. We've got the material.

And we're looking at, you know, other things,
such as possibly moving from the area. Because
apparently if the threat to my family is so great that
people are willing to cross the street and shoot at us
and they're not held accountable, then this is no place
to live.

Q. Okay. If the Court sees fit to grant you a
diversion, would you be willing and able to comply with
any of the reasonable terms of that probation or
whatever they may be?

A. I think "reasonable terms" is the key word.

Q. Well, ordinary terms of probation, such as
submitting to supervision if necessary and reporting to

a probation officer on a monthly basis for whatever

 

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period, that would be --

A. If that's required, certainly. I'm not going
anywhere unless we're able to move, and then I would

ask to be allowed to transfer probation, if that be the

procedure.

Q. Okay. All right. Do you have --

A. I'm not familiar with all the procedures, so
I'm...

Q. Okay. Do you have plans on relocating soon?
A. Well, that's, you know, this economy, it's

very tough to buy or sell property. And that's a
situation we'll have to try to look at very closely and
see if anything can be done.

Q. But for today's purposes are you asking the
judge to grant you diversion and allow you to return
home to your family and to your work?

A. YeS.

MR. WITHERINGTON: If you will answer any of

Mr. Freeland's questions.

CROSS~EXAMINATION

BY GENERAL FREELAND:

Q. Mr. Parsons, you're three-quarter Cherokee?
A. Correct.
Q. So one parent is full Cherokee, and the other

 

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is --

A. Excuse me?

Q. -- half Cherokee? Is that what you're saying?
A. Not at all.

Q. I'm sorry. So what do you mean by

three-quarter Cherokee?

A. That's a percentage.

Q. I understand. Would not one parent have to be
full-blooded Cherokee --

A. Not at all.

Q. -- and one parent have to be half Cherokee for
you to be three-quarter?

A. No, sir. Both parents could be three-quarter

Cherokee. One could be a various percentage. You'd

just add the two numbers and divide by two, and you get

the ratio.

Q. Okay. Tell me. This really has nothing to do
with anything other than your perception of reality.
One parent was what percentage Cherokee?

A. If you turn around and look behind you, you‘ll
see my mother who is Cherokee.

Q. All right.

A And you'll see my father who is Cherokee.

Q. Your father ~-

A

They are right behind you.

 

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Q. As far as you understand, your father is what

percentage Cherokee?

A. In doing the genealogy study, my father is

full-blooded Cherokee.

Q. Well, that's what I asked you. So one parent
is full-blooded Cherokee?

A. But the assumption is that the ratios come
from one being one, one being the other. But the
reality is, is they can come from various degrees.
There may be somewhere in history of my mother where
there is more Cherokee or less. To the degree that
we've been able to establish, this is the percentage
that we have.

Q. Okay. Mr. Parsons, the bottom line is you
don't see reality as the rest of the world sees
reality, do you? Because three-quarters means one plus
a half divided by two is three-quarters. You argue

even with that.

A. Or three-quarters and three-quarters equals

three-quarters.
Q. Six-quarters -- all right.
You were asked about your mental health, and
your opinion is that you enjoy good mental health?
A. That's a fact.

Q. Weren't you examined in connection with this

 

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trial regarding your mental health?

A. The evaluation was at the direction of one
court-appointed attorney who had, well, in fact,
assaulted me and didn't want to be on the case at all.
Hers was a retaliation.

And ultimately the evaluation came back that
there was no reason why l couldn't -- the evaluation
was to determine if I could assist in my own defense
and the nature of what happened at the scene. And the
response of the doctor who did the full evaluation,
Dr. Sioka, was that I acted rational, responsible, and
that there's no reason that I couldn't assist in my own

defense. And he was quite curious as to why I was ever

even sent to have the evaluation. Because normally --

Q. Mr. Parsons --

A. -- people that present themselves, as he said

in my case, aren't evaluated. It's normally people who

truly need assistance from --
Q. Mr. Parsons --
A. -- that standpoint.
MR. WITHERINGTON: EXCuSe me. If I COuld
object. Excuse me.
GENERAL FREELAND: Object to Mr. Parsons?

MR. WITHERINGTON: No. Object to further

questioning on this line.

 

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I didn't have the benefit, Your Honor, of
being his attorney at the trial level, and in my

earlier discussions with Mr. Parsons, as I understood

it, the psychological report, one or another of them

was excluded from the record.

So if we're discussing -- if we're discussing
a report that was excluded from the record, I'd object
on that basis, that it not come in nowl

THE COURT: They're both in the record.
Mr. Parsons filed a Motion to have one excluded. The
Motion was denied.

MR. WITHERINGTON: Thank you, Your Honor.

THE COURT: Yes, sir.

BY GENERAL FREELAND:

Q. All right. Mr. Parsons, in getting back to my
observation to you that you don't see reality as others
do, I asked you a question which called for a yes or no
answer. So there was an evaluation; in fact, there

were two evaluations done, mental evaluations done of

you, correct?

A. That's not correct.

Q. There were not two evaluations done of you?
A. There were no two evaluations. There was one
full evaluation. There was another attempted

 

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evaluation where the officer could not locate the
building and which was subsequently the reason why I
was arrested the first time, because I was not able to
make a appointment,

Which the address given to me was the wrong
address. I was not provided a phone number. And when
I missed the appointment, I was arrested.

And then even the officer who took me to the
appointment couldn't find it. We were late. Thereby
the doctor only had about 30 minutes to do an
evaluation that would have taken two hours. And in his
own notes he said it was an incomplete evaluation.

But as you understand, I like to give long
detailed explanations, and in his evaluation he tried
to claim that I gave short answers, which anybody that
knows me knows that's not the case,

Q. Well then, there were two evaluations,

attempted evaluations --

A. No, sir.

Q. -- visits to a doctor, you saw two people,
right?

A. Seeing two people is not the same as having

two full evaluations.

Q. One evaluation you agreed with and one you

didn't?

 

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A. No, sir. One was not a complete evaluation.
It was a recommendation to continue and complete a full
evaluation. And it should also be --

Q. And that's Dr. Wyatt, correct? The evaluation

or recommendation to which you're referring is

Dr. Wyatt?
A. And I believe when l made the Motion that that

be stricken from the record, if I'm not mistaken, it
was agreed upon that it would be stricken. That's why
it's in seal.

Q. Yes, sir. Your Honor -- Mr. Parsons, we
didn't proceed with it at trial because it wasn't
particularly relevant.

But your attorney asked you if you enjoyed
good mental health. You said you did. But the fact of
the matter is that there have been professionals that
have disagreed with that, have there not?

A. Well, that's not true. The record will
clearly show that his evaluation was incomplete, and he
recommended further evaluation. Once a full evaluation
was done, the doctor concluded there is no reason for
me not to be able to proceed to trial to assist in my
defense, and that my actions were reasoned and

responsive to the situation.

Q. So you don't have, obviously, any objection to

 

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either of these reports being considered by the judge
in your request for probation under diversion or
probation?

A. l would object to Dr. Wyatt‘s simply because
Dr. Wyatt, as the professional doctor told me,

Dr. Wyatt sees criminally mentally ill patients every
day, and I would be an enigma to him. He is not used
to interviewing people --

Q. Well, Mr. Parsons, you're an enigma to a lot
of people, aren't you? Aren't you?

A. I don't believe so.

Q. Well, let me ask you about the unusual
circumstances Mr. Witherington asked you about, the
unusual circumstances relating to your -- the animals
getting out. That's not an unusual circumstance at all
for you, is it, that you've let your wolves, dogs, get
Out?

A. We've had our property for 12 years, sir, and
in 12 years we've only had an animal get out three
times. When we lived in Memphis for 17 years, we had
animals get out twice.

Q. Well, every --

A. That is not unreasonable. And as a matter of
fact, in the news recently a person's dog got out in

the county a couple of weeks ago. The neighbor turned

 

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on the light and shot and killed it, and she wants

answers. Apparently the green light's been given for

people to randomly kill people's pets and nothing will

happen.

Q. All right. The --

A. That's a concern to the community,

Q. The question to you, Mr. Parsons, is, is it an

unusual circumstance or not for this situation to

develop about your wolf-dogs getting out? And how many

times have you been prosecuted for wolves, dogs, at
large, whatever? How many times have you been
criminally prosecuted for it?

A. Never.

Q. You have never been in General Sessions Court
on a charge of your dogs running at large?

A. That's not a criminal charge, sir. That's --
Q. Well, it is a criminal charge, Mr. Parsons.
A. No, sir, it is not. No, sir. That's a civil

matter. If you look at the statutes, that's civil, and

you know that.

Q. Well, Mr. Parsons, I don't know that. But in
any event, how many times have you, in your opinion,
been civilly prosecuted --

A. So now you don't know that?

Q. -- for dogs running at large? How many times

 

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have you been over there in the civil part of General
Sessions Court, under Judge Peeler, with the district
attorney or Mr. Duke Brasfield involved in the
prosecution for your dogs running at large?

THE WITNESS: May l answer that question

fully, Your Honor, since l was sworn to tell the whole

truth?

Q. Well, first of all, if you would answer it,

fully or not.

A. I would like to fully answer that and not be
shut off.

Q. How many times?

A. The fact is, is that when my dog got out and

was shot by a neighbor four years ago, I wasn't even
there. My wife was there. She was originally

charged. And then when I came back to Memphis -- or to
Tipton County, When l returned home, they dropped the
charges against her and charged me because I was the
person they wanted to charge.

This is political. This is the only place
that l know of in this country where they prosecute
individuals for a dog getting out of the yard and allow
the neighbors to shoot and kill a dog on sight.

Q. Prosecute? l thought you said it was civil.

A. You prosecute civilly as well as criminally,

 

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sir.

Q. All right. Well, how many times, to answer
the question that I asked you, how many times have you
been prosecuted civilly in General Sessions Court of
Tipton County for your wolf-dogs running at large?

I believe that case was expunged.

A.

Q. Can you answer a question, Mr. Parsons?

A. One time.

Q. One time?

A. One time.

Q. All right.

A. That's the only time in my life --

Q. That's the only time you've been to court?

A. That's the only time in my life I've ever had
a complaint against my dogs. And in that case, Animal

Control came on my property and confiscated three of my
dogs, sitting on my porch, and claimed that they were
running loose, which the statute says the animals have
to be off your property. That's why when it came to
the Circuit Court it was dismissed. The prosecution

decided not to prosecute because they knew they didn't

have a case.

Q. The prosecution?
A. Your prosecutor didn't prosecute because you
had no case. The dogs were on my property.

 

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The State of Tennessee's prosecutor?

Q

A Yes.

Q. 0n a civil case?

A Yes.

Q Do you know the difference in a civil or

criminal case, Mr. Parsons?

A. Yes, I do. This Court handles both civil and
criminal cases.

Q. And do you know that the State didn't want to
prosecute because they didn't want to deal with you any
more than they had to, the State of Tennessee in

prosecuting you, that that was the reason?

A. Apparently -- no, sir. It's because my dogs
were on my property, and they didn't have a case. You
can't prosecute people for civil penalties when the

person didn't violate the statute.

Q. All right. Mr. Parsons --
A. Which seems to be a problem in this court.
Q. You say that the only compliant that you have

had about your dogs running at large was that one time

in General Sessions Court?

A. You asked me was that the only time I'd been
in a courtroom, and that is a fact. In my life that's
the only time I've been in a courtroom,

Q. I'm following up on what you said.

 

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A. But that matter --
Q. You said the only --
A. No, you're not. You're twisting what I said.

What you asked me was, in fact, was that the only time

I was in court, which the only --

Q. I asked you that, and you responded that --
A. -- in court --
Q. Mr. Parsons, I asked you that, and you

responded that the only complaint that you had had
about your wolves was that one complaint. That's not

true, is it?

A. Please refer to my wolf hybrids as wolf

hybrids, not wolves.

Q. The only -- it's not true that the only
complaint that you've had about your wolves is that one
time in General Sessions Court, is it, Mr. Parsons?
You've had numerous complaints?

A. No, sir, that's not true.

Q. Brent Seay killed one of your wolves, and you
broke his nose in response to it, didn't you?

A. When he attacked me, I punched him one time.
The man attacked me. He shot and killed my dog, off
his property on someone else's property, while I'm out
looking for it. Before, I had told him that I was

looking for my dog, he said, "We haven't seen it."

 

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Moments later, when I drove away, he saw it

and shot and killed it, without provocation, on someone
else's property. And then when the officers arrived,
he attacked me, and in defense of myself I punched
him. That's why I wasn't prosecuted for that.

As a matter of fact, the Grand Jury came back

with a Not True bill, because they thought the whole

thing was a sham.

Q. Well, Mr. Parsons --
A But that didn't --

Q -- my question to you was --

A. You asked if there was --

Q -- my question to you, Mr. Parsons --

MR. WITHERINGTON: Your Honor, l think he's
trying to continue to answer the question.

GENERAL FREELAND: I think he's trying to
evade the answer, Your Honor.
A. There's never been a complaint -- there's
never been a lodged complaint in any court in any state
in this country or the universe, other than the one
time where the Animal Control went on my property
without provocation and stole three of my dogs. And
that was their own complaint. There is no other

complaints in the record anywhere.

Q. Okay. Listen to me, Mr. Parsons. You said

 

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crossed the street to kill my dog, shot 29 times, and

he went out of his way. So that's his complaint,

because he broke the law?

Q. Mr. Parsons, how many of your wolves have been
killed by your neighbors when they were not on your

property?

A. They weren't on their property either, and it

was three.

Q. -All right. In fact, some of them you have
sued because of that?

A. That's fact. That's what you do. You hold
people accountable for their crimes.

Q. Is that what you're asking this Court to do?
A. This Court doesn't have a civil case before
them where I'm suing them in regards to a person
killing my dog at this time.

Q. You don't want this Court to hold people
responsible for the criminal actions that they do?

A. Defending your family is not a criminal act.

Q. Well, that may be. But the jury said you're

guilty. My question is --

A. A jury who was employed by --
Q. -- do you want this Court --
A. -- the county, who lied under voir dire. One

of the jury members was the arresting officer's

 

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mother-in-law who has a lawsuit against him, and I

asked her --

MR. WITHERINGTON: Your Honor, l would object
to the line of questioning, in any event, as to his
opinion as to how the judicial system should function,
as not relevant, Your Honor.

GENERAL FREELAND: I'm trying to determine,
Your Honor, his amenability to probation, which he is
requesting, and diversion and in other probation.

THE COURT: The Court will allow the question.
The objection will be overruled.

Q. Mr. Parsons, you have stated that you believe

that people should be responsible for their criminal

actions.
A. Yes, I do.
Q. The jury has found you to be criminally

responsible for the aggravated assault on two
individuals. Now, you will agree that under our system
of laws, that your opinion doesn't rule, but the

opinion of the jury, affirmed by the Court, controls,

don't you?

A. That's correct.

Q. Okay. Because Mr. Witherington asked you if
you would agree to -- I think Mr. Witherington's words
were “reasonable terms of probation," and you stated

 

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that the determinative factor there would be whether

the terms are reasonable.

A. I’ve never been provided any terms or anything
to that matter, so I can't respond. I don't understand
what that term means. Therefore, I was needing to
qualify what that means.

Q. Well, it's a pretty simple question. You were
asked a simple question: Would you be bound by any
reasonable terms of probation? And your immediate
response would be that the determinative issue is
whether those terms are reasonable.

Who determines that, Mr. Parsons? You?

A. I believe that's for the judge to decide.

Q. Okay. So whatever the judge determines to be
the reasonable terms, you will agree to, correct?

A. Certainly. And I would ask that the term
"reasonable" be prudently exercised, because certainly
there are, within the Court's discretion, things that
might be extreme.

And in this case, no one was touched, other
than my dog was shot and killed. This is not a case
where I pursued them out of anything other than defense
of my family, in the moment where I was imminently in

danger at that moment of being killed.

Q. And your idea as to what a reasonable term of

 

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probation, Mr. Parsons, is, would be just as your
determination of what reality is as you've expressed it
all through these proceedings, correct?

A. I'm not sure what your point is.

Q. Well, my point is that everything that you
have said happened has been determined not to be the
case by juries, and your perception of reality doesn't
seem to coincide with at least the majority rule, if
that's correct, of what reality is; would you agree

Wi th that ?

A. Not at all. The jury did not find reality.
The jury just made an opinion. Regardless of whether
they cared that this man shot at us 29 times, which is
a fact, it's not a reality beyond the scope of the
Court's record. In their mind they may think that that
was okay to shoot at someone‘s dog if you don't feel
that you're safe, where there's a dog that you donit
understand.

In the real world people don't just shoot at
people's pets. That's a crime. And in the state
Tennessee, the clear law says that anything less than a
full-blooded wolf is a domestic pet, and therefore, is
regulated as such and has to be treated as such.

And my dogs have never harmed anybody. So the

reality is in this case my dog was shot and killed, my

 

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wife was shot at, I was shot at.

Q. And Mr. Witherington asked you about what
steps -- or steps to be taken to educate your
neighbors. What have you got in mind about educating

everybody and enlightening them on wolf hybrids?

A. Well, I'll make every attempt to speak with
the neighbors, that they have nothing to fear of me or
my dogs. 'And certainly the lady who expressed interest
in that, I would try to contact her immediately and
take one of my wolf hybrids over there and let her see
them and pet them.

And you know, if she's amenable to that, I
think she'll learn that they're just like anybody
else's pet. They're friendly, not aggressive at all,
great family pets, as a matter of fact. There are
dozens of them throughout the county right now.

Q. Mr. Parsons, you're not suggesting that you're
going to go door to door trying to educate people and
carrying your wolf hybrids with you, are you?

A. l would try to contact -- the people in this
area pretty much know each other. And I think if I
spoke with her and she had a good understanding of who
we are and our animals, certainly I think the phones
would ring and she would be talking to her neighbors.

Because obviously there is a lot of communication

 

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amongst the neighbors.

Q. All right. You're not going to go door to

door with your wolf hybrids to educate them?

A. Well, the people across the street already

know us. And our neighbors, the Stewarts across the

street, don't have a problem with our animals.

Q. Well, I'm just trying to figure out what is

meant by --

A. There are several neighbors --

Q. -- your taking steps to educate neighbors.
A. There are several neighbors that know us and
like our animals. And it's just about four families
that -- that don't.

Q. Those families that don't know you or don‘t

like you or don't know your wolves or know how
wonderful they are, are you going to take steps to

educate those people?

A. I think the lady will communicate with them.
This is the lady who is part of that group of people
that have that viewpoint.

Q. Okay.

A. And she expressed interest in meeting with us
and speaking with us, and so we're going to take that
opportunity to do that. But I don't know about your

suggestion of going door to door --

 

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Q. Oh, I'm not -- don't say that's my suggestion,
Mr. Parsons. It's my question to you. Is that your
plan?

A. No, sir, that was not my intent.

Q. Okay. Now, Mr. Witherington asked you about

the fence that's now being constructed, I guess, that

will keep the -- how many hybrids do you have now,
approximately?

A. I haven't been here in 46 days. I have no
idea.

Q. Well, how many do you sell on a -- would it be

much different? Do you sell them on a daily or weekly

or yearly basis?

A. NO.
Q. Okay. Do they --
A. We normally have, at the most, one litter a

year, and usually they're presold. And if we have any
left over, then we‘ll run an ad in the paper. But, no,
we normally have less than -- on average in the last
ten years, less than one litter a year,

Q. All right. Have you communicated with your
wife since you've been in jail?

A. Yes.

Q. You know exactly how many hybrids you've got,

don't you?

 

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A. No. Because we had a litter of puppies, and I
don't know exactly what she sold and what we have.
Q. Mr. Parsons, can you answer any question

straight out? How many hybrids do you have at your

house?
A. l don't know. I'm not there.
Q. Do you know within a range of 50 or 100 how

many you've got?

A. I think I‘ve answered that question before.

It's about 30.

Q. Well, you finally did, Mr. Parsons. It's
about 30.

A. We've covered that before. And with puppies,
l don't know. I'm not there.

Q. All right. About 30. That's good enough. So

you're building a fence, or a fence is being
constructed, that you believe will be -- keep this
unusual circumstance of a hybrid escaping, it will keep
that from happening again?

A. I think it will. But it's not against the law

for a dog to get out of a house or out of a back yard

and run around. That's not a crime.

Q. All right. We're trying to --

A. ls it?

Q. -- address what you called the "unusual

 

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circumstance" of your hybrids getting out. The point
is that you were before the General Sessions Court how
many years ago was it now that this matter first came
up on your hybrids being at large?

A. Six years ago, I believe.

Q. Six years ago you were telling Judge Peeler of
the efforts you were making to make a fence that would
keep these hybrids in. That was obviously some years

before these hybrids that were the subject of this

criminal action got out.

A. No, sir, that's not true. What l did is I
presented photos. They had requested to see what the
fences looked like, and I showed them that apparently
someone had opened the gate and let our dogs out. We
had six-foot-tall chain link fencing, and that we were
going to put locks now on the gate latches so that

someone couldn't just come and open the gate.

And the fact that our dogs were on our porch,
on our property, when they were stolen by Animal
Control was the reason the charges were dropped,
because the State didn't have a case. It was a

politically motivated attack.

Q. The State? I thought it was a civil action.
A. The State prosecutes civilly. You're a

prosecutor, and you represent the State, and you're in

 

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the General Sessions Court, correct?

And that's a civil thing?

Do you not prosecute civil matters?
No, sir, Mr. Parsons, l don't.

You don't?

No, sir. Those are criminal actions.
I believe it's civil.

I defer to you, Mr. Parsons.

Does it carry jail time to have animals get

Yes, sir, it does.

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Okay, I was told it was a civil matter, there
was just a fine.

Q. This unusual circumstance of your wolf hybrids
getting out is not unusual at all, and it will continue
to be a problem. You either are unwilling or unable to
address it; isn’t that true?

A. Not at all. I think we've sat here and
discussed that over the course of 12 years now our dogs
have gotten out three times. And the fact is, is that
we've made provisions to correct the problem. And
putting up this additional fencing, if they do get out
of the six-foot fencing by opening a gate or squeezing

through or whatever, that they will be contained in

there.

 

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But the fact is, what‘s being missed here is
these are not aggressive animals. People attacking our

animals out of hate towards me is the reality.

Q. Mr. Parsons --
A. And that's why we're look at moving. It's not
an issue of the dogs getting out. It's an issue of

people attacking my family because they just don't like

me because I'm not part of this Old Boy System and I

ran for office.

The fact that the defendants -- or the State’s
witness said that he was mad at me and he supported the
other candidate, and at the scene he even said, "You
should have kept your dogs in."

And he wasn't in fear. He was on a hunt to
kill my dog. He knew they were my dogs.

Q. And this is reality according to you?
A. No, it's testimony by your witness.
GENERAL FREELAND: That'S all.

THE WITNESS: His own write-up.

 

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REDIRECT EXAMINATION

BY MR. WITHERINGTON:

Q. Mr. Parsons, just briefly to follow up.

As to the mental health issue, have you been
diagnosed by any doctor or psychologist with a mental
health issue?

A. No, sir.

Q. Okay. How long would it take you to construct
this fence that you feel will contain the dogs fully?
A. Not knowing the weather conditions, it's hard
to say. Probably two to three months, given the
current climate, the temperatures, and weather in the
wintertime.

Q. Okay. Is it fair to say that all of your
appearances in the courtroom, whether they be civil or
criminal, have had to do your dogs getting loose?

A. One could say that. But I would say the
State, the government, coming on my property, stealing
three of my dogs when my dogs are on my property, and
falsely charging me, was an attack on me personally.

Q. Well, however the cases turned out in the end
in the circumstances, would you agree with me that what
gave rise to the incident, or at least a necessary
factor, was the dogs getting out of the enclosure?

A. I think that was the excuse that was used to

 

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come after me, yes.

Q. Okay. Is it fair to say, though, that those,
every incident that's caused you to be in court, would

not have happened but for the dogs getting out of the

pen?

A. Those were contributing factors.

Q. Okay.

A. But the fact that dogs on your property is not

a crime still exists. And the fact that he had no

right to cross the street and shoot my dog still

exists.

And so I'm taking every efforts (sic) to make
sure that my dogs aren't attacked any more by keeping
them, you know, in the yard and on the property.

Q. Okay. Let me ask the question this way:
Assuming the fence is built that would contain the dogs
in fully, given your history in the past, would this
new enclosure prevent all of the past incidences, all
of the circumstances of the past incidents from
happening in the future? Would that avoid all of those
different occurrences, whether they were civil or
criminal?

A. The first event, the first incident, was where
the lock was -- there was not a lock on the gate, so

that was resolved by putting locks on the gate so

 

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people couldn't come open the gates.

And the second occurrence happened where we
just had Brandi excited to see other dogs in the
neighborhood, and she squeezed past the gate. And so

we put two latches on the gate so that she couldn't

squeeze out.

And so now, you know, the dogs don't climb the
fences. The dogs don't dig out of the fences. It's
always been through a gate. But we're doing a larger
enclosure to give them, you know, that secondary
fencing, so that if they do happen to get, you know,
out somehow, they're going to be, you know, right there

within, you know, the yard. They're not going to go

beyond the yard.

Q. Okay. So the fence is taller and heavier?

A. Oh, yeah. Seven foot. It's heavier material,
and, yeah.

Q. In your opinion it's going to keep your dogs

in permanently?

A. Well, yeah, unless we're walking them.

Q. Okay. And assuming the judge made it a
condition of your probation to complete this secondary
fence, would you consider that a reasonable term of
your probation?

A. Certainly.

 

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Q. To, say, complete the fence in 90 days?
A. Certainly. And we're talking about enough --
the stack of fencing is three feet tall. We're talking
about fencing off an acre and a half. And doing it
myself, it just takes some time. So it's not a
situation where I can go out there and in a week put up
this fence,
Q. Okay. But if it were a term of your probation
to, say, complete it within 90 days, would that be
feasible?
A. Yeah. l think three months would be
reasonable, and I would do everything possible.
Because l know January is certainly going to be a hard
month. February, the beginning is not so good. But
the middle of February, it's usually getting better to
where you can do work outside and...

MR. WITHERINGTON: Thank you, Mr. Parsons.

GENERAL FREELAND: No further questions.

THE COURT: You can step around.

(Witness excused.)

MR. WITHERINGTON: No further proof, Your

Honor.
THE COURT: The defendant presented this same
statement of how the events unfolded to the jury. The

jury rejected the defendant's version and accredited

 

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the testimony of the victims, Mr. King and Mr. Laxton.
The defendant still fails to appreciate the
wrongfulness of his actions, where he held a loaded
handgun to the head of the victims and threatened to
kill them.
The request for a diversion of the sentencing

hearing will be denied, so we can proceed to

sentencing.

Does the State have anything else to present
other than --

GENERAL FREELAND: No, sir. We would submit
it on the facts that came out at trial and the
presentence report and Mr. Parsons' testimony.

MR. WITHERINGTON: Your Honor, we'd submit to
the Court that under 40-35-113 that mitigating factors
number two, three, seven, and then nine through 12
apply on his behalf, that being that he acted on strong
provocation.

Your Honor, of course, I wasn't present at
trial, but it's my understanding of the facts and based
on what I've seen today that clearly, you know, he

acted under strong provocation, you know.

And the Court has, I know, heard his share of
animal cases, and they're emotional. I mean, they are

always something people want to avoid even touching,

 

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his attorneys, because the emotions run so strong. So
clearly he did act under strong provocation.

And although the grounds, and as Your Honor
just stated, the grounds didn't exist, at least in the
jury’s eyes, to justify self-defense, a finding of
self-defense as an affirmative defense, and they, of
course, didn't find that he was properly effecting a
citizen's arrest, that substantial grounds existed,
under subsection 3, tending to excuse or justify his
conduct.

And, Your Honor, under subsection 9, 1 think
it's not disputed, at least, that he assisted the
authorities, and at least he felt also that under the
circumstances that he was effecting his own citizen's
arrest. So, of course, he was cooperating with the
authorities when they came, in order to turn over all
of the appropriate evidence and so forth that he had
seized.

And that also applies for subsection 10, in
assisting with property.

And, Your Honor, these are unusual
circumstances. I mean, whether there -- whether his
dogs have gotten out in the past or not, to see your
dog shot, you know, in front of your face and to have

bullets, you know, whizzing at your wife or in the

 

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direction of your wife, those are unusual, and that's
not something -- it's not something that I've heard of
coming around. It's kind of bizarre. And, you know,
we think that fits squarely within subsection 11, where
it says that he committed the offense under
circumstances where it's unlikely to happen again.

And he's stated to the Court that he would
build this secondary fence, and he's already obtained
the materials, so that is something we think will avoid
this in the future.

And, Your Honor, it appears that through --
I'm not political myself, but from what I understand,
at least, from Mr. Parsons' testimony today and what
little I've seen in the record, that over the course of
his life, the only things that have drug him into court
are incidents with these dogs getting out, whether he
socked some guy in the nose or whether he's been sued
or sued someone else over the dogs.

It appears that -- I know this is not
necessarily the words that Mr. Parsons used on the
stand, but it appears, looking at it, that but for the
dogs getting out, that Mr. Parsons would not have ever
seen the inside of a courtroom. And we submit to Your
Honor that with the completion of this secondary fence

that that's an incident that's not likely to happen

 

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again.

And we'd ask that Your Honor show him mercy in
sentencing and find that these mitigating factors
apply.

THE COURT: Okay. General.

GENERAL FREELAND: Yes, sir. Your Honor, I
don't think these are unusual circumstances at all from
the proof. Now, it's unusual if you add the details
about bullets whizzing past his ears and in the
direction of his wife, but I don't think that's borne
out by the facts, and it's not supported by the jury's
verdict.

It's not unusual circumstance that these
hybrids get out. They've been getting out for six
years. It's resulted in, according to Mr. Parsons,
three of them being killed, which l guess would be two
in addition to the hybrid that was killed in this
incident. It's led to his punching neighbors in the
nose and breaking their nose. It's nothing unusual
about it at all.

I don't think -- and Mr. Parsons has been
saying he'd take care of the problem, by his testimony,
for six years. I can't imagine the wall that would be
necessary to keep this from happening again.

As far as his amenability to probation, l

 

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think that it's important, and Your Honor has heard
Mr. Parsons testify on numerous occasions, to

appreciate what his version of reality is as far as his

representation of attorneys, as far as his belief that

everybody that has lived here from birth or for the
last 20 years is against him, that there's some
conspiracy, that the district attorney's office is
conspiring against him, that officers are conspiring
against him, that his attorneys are assaulting him,
that Your Honor is conspiring against him, that
assistant district attorneys are conspiring against
him, his view of the law, of what's civil, of what‘s
criminal, of who determines the law, all of it goes to
show that he is a man out of touch with reality, who
will not be amenable to any terms of probation unless
he passes on their reasonableness.

And if Mr. Parsons is the arbiter of what is
reasonable, I submit that he's going to be
manipulative, he's going to assert his control over
things, just as he has or attempted to have over this
system, And my prediction is he's not amenable to
probation, It won't work.

THE COURT: Okay. Is there anything else you
want to present with regard to sentencing?

MR. WITHERINGTON: NO, sir.

 

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THE COURT: While there's been a lot of focus
on the hybrids, the Court feels like the focus should
be on the actions of Mr. Parsons and his confrontations
with the neighbors. The jury accredited the testimony
of the victims. The jury also heard a recording of the
actual incident itself. And the jury has rejected the
version that Mr. Parsons presented to the jury, which
is the same as he presented here today.

The Court has considered the evidence received
at trial, the evidence received today, the presentence
report, the principles of sentencing, and arguments as
to sentencing alternatives, the nature and
characteristics of the criminal conduct involved, the
evidence and information offered by the defendant on
the mitigating factors, the statement that the
defendant made in his own behalf, and the need to
impose a sentence to reflect the seriousness of the
offense, to promote respect for law, and to provide
just punishment.

The defendant is a standard offender.

The Court finds there are no statutory
mitigating factors that apply.

The victims in this case were threatened with
serious bodily injury. The defendant put a weapon to

the head of the victims, told them he would kill them

 

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if they did not do as he demanded.

There was provocation, according to the
defendant's view, but the jury rejected that view.

The defendant acted out of anger. The jury
heard the actual tape recording of the incident
itself. The defendant acted with the belief he could
do whatever he wanted. The jury accredited the
testimony of the victims, that the wolf was charging
and that Mr. Laxton was justified in his actions.

Nick King had done nothing toward the
defendant. He was working and minding his own
business, yet Mr. Parsons placed a gun on him,
threatened him, and continues to express that everyone
else is in the wrong and that he acted appropriately.

Despite what the defendant alleges, there are
not substantial grounds, in this Court's opinion, to
excuse or justify his conduct.

The Court finds it's a proper case to sentence
the defendant, however, to the presumptive or minimum
sentence, and the Court sentences the defendant to
three years as a standard offender in Count 3. He will
be given credit of time served in September of '07,
July of ‘08, June of '09, and from November 23rd until

today.

He is sentenced to four years -- I'm sorry --

 

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three years in Count 4 as a standard offender, to one
year as a standard offender in Count 5, and to 11
months and 29 days in Counts 6 and 7 for the

misdemeanor offenses of theft.

The Court finds, from the evidence, that the
defendant is a dangerous offender. His behavior
indicates little or no regard for human life. He had
no hesitation about committing a crime in which the
risk to human life was high.

He accosted his neighbors with a loaded
weapon, threatening to kill them if they didn't do as
he demanded. He held them under gun or threat of gun
while he took their property.

And the Court finds that consecutive
sentencing is reasonably related to the severity of the
offenses committed, that it serves the need to avoid
deprecating the seriousness of these offenses from the
actions of the defendant, serves to protect society
from further criminal acts by the defendant who
resorted to aggravated criminal conduct, and are
generally congruent with the principles of sentencing.

The consecutive sentences are justly deserved
in relation to the seriousness of the offenses and no

greater than deserved for the offenses committed,

So the Court sentences the defendant to three

 

 

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years as a standard offender in Count 3, Count 4 will
be consecutive, Count 5 will be consecutive, for an
effective sentence of seven years. The misdemeanor
sentences will run concurrent with the first three-year

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The Court finds that alternate sentencing is

not appropriate in this case. The offenses involved a

handgun. The defendant is not an eligible offender.
He was convicted of offenses involving crimes against a
person, violent offenses, and offenses in which the use
or possession of a weapon was involved. And therefore,
under T.C.A. 40-36-106, is not an eligible candidate
for alternate sentencing.

The Court further doesn't feel it's a proper
case for probation, and that confinement is necessary
to protect society and avoid deprecating the

seriousness of these offenses.

The Court would ask Mr. Witherington to
represent the defendant on appeal, if he desires to
appeal his conviction or sentence.

The Motion for New Trial needs to be filed

within 30 days.

MR. WITHERINGTON: Yes, sir. Thank you, Your

Honor.

THE COURT: Counsel filed a Motion for bond to

 

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be reinstated, and the defendant filed, pro se, a
Motion for bond to be reinstated pending appeal.

Bond was revoked after the verdict, pursuant
to T.C.A. 40-11-113 and T.C.A. 40-35-116. The
Constitutional right to bail is extinguished upon
conviction, and a convicted person is not entitled to
bail as a matter of right pending appeal. The right to
bond is subordinate to the public needs and well-being
of society, and the Court believes that the defendant
poses a threat to other persons in the community, and
the bond -- the Court declines the request to reinstate
bond. lt will remain revoked pending appeal.

Is there anything else we need to cover
today?

MR. WITHERINGTON: No, sir.

THE COURT: We stand in recess for a

ten-minute break.

(End of requested proceedings.)

 

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I, the undersigned Lynn S. Terrell, Official
Court Reporter for the Twenty-fifth Judicial District
of the State of Tennessee, and Notary Public at Large,
do hereby certify the foregoing to be a true, accurate,
and complete transcript, to the best of my knowledge
and ability, of all the proceedings had and evidence
introduced in the hearing of the captioned cause,
relative to appeal, in the Circuit Court for Tipton
County, Tennessee, on the 8th day of January 2010.

I do further certify that I am neither of kin,
counsel, nor interest to any party hereto.

Dated this 22nd day of June 2010.

coPY

Lynn S. Terrell
Official Court Reporter
State of Tennessee
Notary Public at Large

 

My commission expires September 14, 2011.

 

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